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UNITED STATES COURT OF APPEALS
FOR THE SECOND CIRCUIT

 

MIDAMINESSPRLLTD. ) Case No. 14-862
Plaintiffs-A ppellants )
v. ) On Appeal From the USDC NYSD
) 12 cv 8089, Hon. Richard J. Sullivan
KBC BANK NV ) Date of Final Order/Notice of Appeal
)

Filed: March 19, 2014

 

Defendants-Appellees

DECLARATION OF SANTO P. TERENZIO REGARDING THE MOTION
FOR PANEL AND EN BANC RECONSIDERATION OF THE COURT’S
ORDER DATED JULY 16, 2014-— DOC. 126

I, SANTO P. TERENZIO, pursuant to §28 U.S.C. § 1746, declare as follows:

1. 1am an Illinois attorney in good standing and licensed to practice law since
November 1991. I assisted Mr. Abbas in the incorporation of Midamines Sprl Ltd.
in 2012, and act as registered agent for Midamines Sprl Ltd. in Illinois.

2. I have personal knowledge of the facts contained herein and would be
competent to testify thereto.

3. Jam not involved as counsel for any party in the above-captioned matter.

4. I submit this declaration at the request of Appellants in regards to the motion
for reconsideration of the Court’s order dated July 16, 2014, which imposed
sanctions upon Appellants, Mr. Abbas and Midamines Sprl, and ordered the
sealing of all documents which referenced Mr. Martin’s e-mail of May 22, 2014,

and denied the motion to disqualify KBC counsel, Mr. Martin and the Orrick firm.

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I do not have any common interest with Mr. Richard Martin or the firm of
Orrick, Herrington, Sutcliffe LLP in developing legal theories or document

analyses relative to this case, or any other case.

 

One of my email addresses is:|sptlaw@sbcglobal.net

 

 

 

On May 22, 2014, I received an email from Mr. Richard Martin sent from

 

 

rmartin@orrick.com| — to the following: |nraj@orrick.com] |ha.law@hotmail.be

 

 

 

 

 

habbas@handlerthayer.com] |sptlaw(@sbcglobal.net] |HGredd(@LSWLAW.com

 

 

 

 

 

 

 

 

 

pgarlinger(@lswlaw.com

 

 

Mr. Martin did not contact me on May 22, 2014 to inform me the email was
sent inadvertently. Mr. Martin did not contact me on May 22, 2014 to inform me
that the email was work product or privileged.

About two weeks later, on June 4, 2014, I was “cc’d” on an email sent by
Mr. Martin to Mr. Abbas. On this date I noted that Mr. Martin claimed the email
was privileged. I discussed with Mr. Abbas who claimed the privilege was waived
because Mr. Martin disclosed the email to third parties, such as myself, who has no
common interest with Mr. Martin. I never received anything else from Mr. Martin.

I declare under penalty of perjury that the foregoing is true and correct.

DATED: — July 24, 2014

  

s/ Santo P. Terenzio

SANTO P. TERENZIO

 
